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                      IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :

       v.                                   : CRIMINAL NO. 21-418

ERIC BOCHENE                                :


                         GOVERNMENT=S NOTICE OF FILING

       The government hereby gives Notice of the filing of a Notice of Mental Health

Professional and the Curriculum Vitae of the Mental Health Professional.

                                    Respectfully submitted,

                                    MATTHEW GRAVES
                                    United States Attorney
                                    D.C. Bar No. 481052

                                    /s/ Anita Eve
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